Case 2:21-cv-20706-MEF-ESK Document 19-1 Filed 11/11/22 Page 1 of 1 PageID: 182




 Daniel Szalkiewicz & Associates, P.C.                                                                INVOICE
 23 W. 73rd St., Ste. 102                                                                                 Invoice # 183
 New York, NY 10023                                                                                    Date: 11/11/2022
                                                                                                     Due On: 12/11/2022


 Harvey Bell

 00055-Bell

 Defamation Matter

     Date      Attorney                                    Notes                                    Quantity   Total




  11/01/2022   DS           Review of court order in matter requiring meet and confe         and        0.10    $45.00
                            November 10, 2022 conference,

  11/01/2022   DS           Drafting of correspondence to opposing counsel with copy of court           0.10    $45.00
                            order and requesting a meet and confer to discuss potential
                            discovery dates

  11/02/2022   DS           Review of correspondence from opposing counsel regarding                    0.10    $45.00
                            meeting to discuss order, drafting of email to same with availability
                            until 5:00 p.m. to discuss same, request call

  11/07/2022   DS           Drafting of proposed discovery order, sent same to client and               0.80   $360.00
                            opposing counsel for review

  11/08/2022   DS           Review of correspondence from opposing counsel stating he will              0.20    $90.00
                            look over the proposed discovery order, drafting of correspondence
                            to same reminding counsel of deadline,



  11/09/2022   DS           Drafting of correspondence to opposing counsel requesting                   0.30   $135.00
                            feedback for joint proposed discovery order, preparation for
                            conference with court

  11/10/2022   DS           Telephone call with court regarding proposed discovery order,               0.40   $180.00
                            drafting of cover letter and changes to order, sent same to court for
                            review

  11/10/2022   DS           Attendance at court conference                                              0.20    $90.00




                                                        Page 1 of 2
